Case 2:17-cv-13351-AJT-DRG
             Case: 18-2415 Document:
                           ECF No. 3037filedFiled:
                                              03/24/20
                                                   03/24/2020
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                 Supreme Court of the United States
                        Office of the Clerk
                    Washington, DC 20543-0001
                                                                    Scott S. Harris
                                                                    Clerk of the Court
                                                                    (202) 479-3011
                                   March 23, 2020


   Clerk                                                                   FILED
   United States Court of Appeals for the Sixth Circuit            Mar 24, 2020
   540 Potter Stewart U.S. Courthouse                          DEBORAH S. HUNT, Clerk
   100 East Fifth Street
   Cincinnati, OH 45202-3988


         Re: Ghazala Siddiqui, et vir., Individually and as Personal
             Representatives of the Estate of Raheel Siddiqui, Deceased
             v. United States
             No. 19-913
             (Your No. 18-2415)


   Dear Clerk:

         The Court today entered the following order in the above-entitled case:

         The petition for a writ of certiorari is denied.



                                           Sincerely,




                                           Scott S. Harris, Clerk
